            Case 5:15-cv-01013-RP Document 10 Filed 02/09/16 Page 1 of 5



                                  IN THE UNITED STATES DISTRICT COURT
                                   FOR THE WESTERN DISTRICT OF TEXAS
                                         SAN ANTONIO DIVISION


RODERICK STEVENS                                      §
                                                      §
                  Plaintiff,                          §
                                                      §
v.                                                    §
                                                      §            5:15-CV-01013-RP
CHANCE G. ANDREPONT, a/k/a                            §
CHANCE ANDREPOINT; TIMCO                              §
SERVICES, LLC; TIMCO SERVICES INC.;                   §
and TIMCO SERVICES, AN ASSUMED                        §
OR COMMON NAME,                                       §
                                                      §
                   Defendants.                        §

                                                   ORDER

         Before the Court is Plaintiff’s Motion to Remand to State Court (Dkt. 2), filed December 4, 2015,

and Defendant Timco Services, Inc.’s Motion for Leave to File an Amended Notice of Removal (Dkt. 8).

After reviewing the pleadings, the applicable law, and the factual record, the Court issues the following

Order.

                                               BACKGROUND

         Plaintiff filed a negligence action in Bexar County, Texas on October 13, 2015. Defendant Timco

Services, Inc. filed its Original Answer in state court on November 12, 2015, and Defendant Andrepont

filed his Answer on November 16, 2015. Along with its Answer, Defendant Timco Services, Inc. filed a

Notice of Removal, alleging federal jurisdiction on the basis of diversity of citizenship. See 28 U.S.C. §

1332(a)(1), 1441(b)(1) and 1446.

         In its Notice of Removal, Defendant Timco Services, Inc. alleged that Plaintiff resides in Texas;

Timco Services Inc. is incorporated in Delaware with its principal place of business in Louisiana;

Defendant Chance Andrepont is a citizen of the state of Louisiana; and Defendant Timco Services, LLC is
                                                      1
            Case 5:15-cv-01013-RP Document 10 Filed 02/09/16 Page 2 of 5



a “non-existent entity.” (Notice of Removal, Dkt. 1, ¶ 9). Defendant Timco Services, Inc. further alleged

that “[t]he amount in controversy exceeds the sum of [$75,000.00], exclusive of interests and costs,” (id.

¶ 14), and finally that “Defendant Chance G. Andrepont has appeared and consents to this removal

action,” (id. ¶ 11).

        Plaintiff moves to remand. In his motion, Plaintiff challenges Timco Services, Inc.’s removal for

failing to secure the consent of all Defendants as required by 28 U.S. Code § 1446(b)(2)(A) (“When a civil

action is removed solely under section 1441(a), all defendants who have been properly joined and

served must join in or consent to the removal of the action.”). Contrary to the removal notice, Plaintiff

asserts that Timco Services, LLC is not a “non-existent entity,” and is in fact “an entity that is in

existence.” (Motion to Remand, Dkt. 2, ¶ 10). Insofar as Timco Services, LLC is a properly named

defendant, Plaintiff alleges that removal without its consent is improper. Plaintiff further alleges that

removal is defective because Defendant Andrepont, whom Defendant Timco Services, Inc. asserts did

consent to removal, “has not filed a written consent to removal.” (Motion to Remand, Dkt. 2, ¶ 11).

        In response to Plaintiff’s Motion to Remand, this Court issued an Order to Show Cause (Dkt. 7)

noting that removal appeared procedurally improper and that district courts could not overlook such

errors. Defendant responded by acknowledging its errors. Timco Services, LLC is indeed an existent

entity, and the notice of removal “should have been filed on behalf of Timco Services, LLC, the correct

name of the surviving entity commonly known as Timco Services.” (Timco Services, Inc.’s Resp., Dkt. 8, ¶

10). In light of the errors, Defendant requested motion for leave to refile the removal notice. (Id. ¶ 18).

The “Timco Services” defendants – Timco Services, Inc. and Timco Services, LLC – are the same entity

and their consent is supported by an attachment to Defendant’s new notice of removal; Chance

Andrepont’s consent is supported by another attachment to the notice.




                                                       2
           Case 5:15-cv-01013-RP Document 10 Filed 02/09/16 Page 3 of 5



        Plaintiff objects to the motion for leave. The parties have briefed the issues, and the motions are

ripe for review.

                                           STANDARD OF REVIEW

        A case may be removed to federal court if the action is one over which the federal court

possesses subject matter jurisdiction. “[A]ny civil action brought in a State court of which the district

courts of the United States have original jurisdiction, may be removed by the defendant or the

defendants, to the district court of the United States for the district and division embracing the place

where such action is pending.” 28 U.S.C. § 1441(a).

        A federal district court possesses original jurisdiction if the parties could have initially filed in

federal court pursuant to 28 U.S.C. §§ 1331 – 1334. Defendant Timco Services, Inc. removed this Action

to federal court based on 28 U.S.C. § 1332(a)(1), which predicates federal jurisdiction on diversity of

citizenship of the parties and a minimum amount in controversy.

        The burden to show removal is proper is on the movant. See Manguno v. Prudential Prop. & Cas.

Ins. Co., 276 F. 3d 720, 723 (5th Cir. 2002). To determine whether jurisdiction is present for removal, the

Court must consider the claims in plaintiffs’ original petitions “as they existed at the time of removal.”

De Jongh v. State Farm Lloyds, 555 Fed. Appx. 435, 437 (5th Cir. 2014). “Any doubts regarding whether

removal jurisdiction is proper should be resolved against federal jurisdiction.” Id. “A removing defendant

has the burden of proof as to all controverted issues.” 1 MCDONALD & CARLSON TEX. CIV. PRAC. § 3:155 (2d.

ed.)

                                                  ANALYSIS

        Plaintiff does not argue that the federal courts lack jurisdiction. Instead, Plaintiff argues that

removal from the state court was procedurally improper, such that remand is necessary.




                                                       3
           Case 5:15-cv-01013-RP Document 10 Filed 02/09/16 Page 4 of 5



        The procedure governing removal is found in 28 U.S.C. § 1446. Under Section 1446(b), notice of

removal must be filed within thirty days of a defendant's receipt of service. “While not stated explicitly

in the statute, in cases with multiple served defendants, all defendants must consent to removal prior to

the expiration of the thirty day period.” Spoon v. Fannin Cty. Cmty. Supervision & Corr. Dep't, 794 F.

Supp. 2d 703, 705 (E.D. Tex. 2011) (citing Gillis v. Louisiana, 294 F.3d 755, 759 (5th Cir.2002)). If the

removing parties fail to comply with the “rule of unanimity,” or any other procedural requirement for

removal, the plaintiff may move for remand within thirty days of removal. 28 U.S.C. § 1447(c). “[T]o

properly establish consent to removal, a defendant who does not sign an original notice of removal

cannot rely solely on a representation of its consent from removing defendants or on any

communication between the defendants not timely filed with the court.” Spoon, 794 F. Supp. 2d at 706

(citing Getty Oil Corp. v. Ins. Co. of N. Am., 841 F.2d 1254 (5th Cir.1988) (“[T]here must be some timely

filed written indication from each served defendant . . . that it has actually consented to such action.”)).

        Plaintiff alleges that Defendant Timco Services, LLC is a real entity that has not consented to

removal, and that Defendant Andrepont has not properly consented to removal because he did not file

a written consent at the time of removal.

        Given such a procedural defect, remand is appropriate. “District courts have no power to

overlook procedural errors relating to the notice of removal; instead, a district court must remand a

case which was removed pursuant to a procedurally defective notice.” Harden v. Field Mem. Cmty.

Hosp., 516 F.Supp.2d 600, 606 (S.D.Miss.2007) (citing Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100,

108–09 (1941)).

        A defendant is free to amend a notice of removal within the thirty day period as set forth in 28

U.S.C.A. § 1446(b) – that is, the time during which removal itself is appropriate. See Moody v.




                                                      4
           Case 5:15-cv-01013-RP Document 10 Filed 02/09/16 Page 5 of 5



Commercial Ins. Co. of Newark, New Jersey, 753 F. Supp. 198, 201 (N.D. Tex. 1990). Defendant’s attempt

to amend its notice of removal did not fall within the thirty-day window.

        Once the thirty day period has expired, amendments to the notice of removal must be made

pursuant to 28 U.S.C. §1653, which allows amendment of defective allegations of jurisdiction. Id. Such

amendments are only available to cure defective allegations of jurisdiction, and “cannot be used to

amend ‘a substantial defect in removal proceedings.’” Id. (quoting Courtney v. Benedetto, 627 F. Supp.

523, 527 (M.D. La. 1986)). Defendant’s “failure to join all defendants in the notice of removal . . . is a

non-jurisdictional effect.” Id. Thus Defendant’s attempt to amend its notice of removal is not timely and

the amendment provision does not otherwise allow amendment.

                                              CONCLUSION

        Defendant’s Motion for Leave to Amend its Notice of Removal is DENIED.

        Plaintiff’s Motion to Remand is GRANTED, and the action is remanded to the 285th Judicial

District Court of Bexar County, Texas.

        Each party is to bear its own fees and costs.



SIGNED on February 9, 2015.




                                                            __________________________________
                                                            ROBERT L. PITMAN
                                                            UNITED STATES DISTRICT JUDGE




                                                        5
